                 Case 2:20-cv-00882-MLP Document 148 Filed 02/11/22 Page 1 of 3




 1                                                               The Honorable Michelle L. Peterson

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     O’DONNELL/SALVATORI, INC., an Illinois               NO. 2:20-cv-00882-MLP
 9   corporation,
                                                          DECLARATION OF MARK
10                                                        LORBIECKI IN SUPPORT OF ODS’S
                      Plaintiff/Counterclaim
                      Defendant,                          RESPONSE TO DEFENDANT
11                                                        MICROSOFT CORPORATION’S
                                                          MOTION TO EXCLUDE EXPERT
12           v.                                           TESTIMONY OF TIMOTHY
                                                          SALZMAN
13   MICROSOFT CORPORATION, a Washington
     corporation,
14                                                        NOTED ON MOTION CALENDAR:
                      Defendant/Counterclaim              February 25, 2022
15                    Plaintiff.
16                                                        ORAL ARGUMENT REQUESTED

17
             1.       I am an attorney for Plaintiff/Counterclaim Defendant O’Donnell/Salvatori, Inc.
18
     (“ODS”) in the above-entitled action. I make this declaration based on personal knowledge, am
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     over the age of 18 and competent to testify.
20
             1.       Exhibit A is a true and accurate excerpted copy of the 30(b)(6) deposition of
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     Microsoft indicating that Microsoft had used various of the ODS works to form new music which
22
     was not properly attributed to either of Michael Salvatori or Martin O’Donnell.
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      DECLARATION OF MARK LORBIECKI IN SUPPORT OF ODS’S                 Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
      RESPONSE TO DEFENDANT MICROSOFT CORPORATION’S                     Seattle, WA 98101-2380
      MOTION TO EXCLUDE EXPERT TESTIMONY OF TIMOTHY                     (206) 628-6600
      SALZMAN - 1
      (2:20-cv-00882-MLP)

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                 Case 2:20-cv-00882-MLP Document 148 Filed 02/11/22 Page 2 of 3




 1           2.       Attached hereto as Exhibit B is a true and correct copy of excerpts of the Joel

 2   Yarger deposition.

 3           3.       Attached hereto as Exhibit C is a true and correct copy of excerpts of the Martin

 4   O’Donnell deposition.

 5           4.       Attached hereto as Exhibit D is a true and correct copy of excerpts of the Michael

 6   Salvatori deposition.

 7           5.       Attached hereto as Exhibit E is a true and correct copy of excerpts of the Paul

 8   Lipson deposition.

 9           6.       Attached hereto as Exhibit F is a true and correct copy of excerpts of the Sotaro

10   Tojima deposition.

11           7.       Attached hereto as Exhibit G is a true and correct copy of excerpts of the Thomas

12   Salta deposition.

13           8.       Attached hereto as Exhibit H is a true and correct copy of excerpts of the Timothy

14   Salzman deposition.

15           9.       THE FOREGOING IS TRUE AND CORRECT TO THE BEST OF MY

16   KNOWLEDGE, SO STATED UNDER PENALTY OF PERJURY UNDER THE LAWS OF

17   THE STATE OF WASHINGTON AND THE UNITED STATES OF AMERICA.

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      DECLARATION OF MARK LORBIECKI IN SUPPORT OF ODS’S                  Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
      RESPONSE TO DEFENDANT MICROSOFT CORPORATION’S                      Seattle, WA 98101-2380
      MOTION TO EXCLUDE EXPERT TESTIMONY OF TIMOTHY                      (206) 628-6600
      SALZMAN - 2
      (2:20-cv-00882-MLP)

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 2           DATED this 11th day of February, 2022.

 3

 4                                                    s/ Mark Lawrence Lorbiecki
                                                      Mark Lawrence Lorbiecki, WSBA # 16796
 5                                                    WILLIAMS, KASTNER & GIBBS PLLC
                                                      601 Union Street, Suite 4100
 6
                                                      Seattle, WA 98101-2380
 7                                                    Tel: (206) 628-6600
                                                      Fax: (206) 628-6611
 8                                                    Email: mlorbiecki@williamkastner.com
 9                                                    Attorneys for Plaintiff/Counterclaim
                                                      Defendant O’Donnell/Salvatori, Inc.
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